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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JOHN DOE,                                    CIVIL DIVISION

              Plaintiff,
                                             Civil Action No. 2:17-CV-01574
       v.

CARNEGIE MELLON UNIVERSITY,                  JURY TRIAL DEMANDED

              Defendant.




                                          ORDER
                           A._!li.             J\l
       And now this        ~          day of~-                 , 2018, upon consideration of

the Consent Motion for an Extension of Time to ServeCdomplaint, it is hereby ORDERED that

said Motion is GRANTED, and Plaintiff has an additional thirty days, or until the 3rd day of

June, 2018, to serve the Verified Complaint upon Defendant.



                                               THE COURT:




                                                                                        J.
